Case 1:14-cv-14176-ADB Document 487-3 Filed 08/28/18 Page 1 of 4




         EXHIBIT 161
        Case 1:14-cv-14176-ADB Document 487-3 Filed 08/28/18 Page 2 of 4



                                                                   Page 1

1                   IN THE UNITED STATES DISTRICT COURT
2                    FOR THE DISTRICT OF MASSACHUSETTS
3                               BOSTON DIVISION
4
5       Civil Action No. 1:14-cv-14176-ADB
        ______________________________________________________
6
        DEPOSITION OF:                        - June 16, 2017
7       ______________________________________________________
8       STUDENTS FOR FAIR ADMISSIONS, INC.,
9       Plaintiff,
10      v.
11      PRESIDENT AND FELLOWS OF HARVARD COLLEGE
12      (HARVARD CORPORATION),
13      Defendant.
14      ______________________________________________________
15
16                      PURSUANT TO NOTICE AND SUBPOENA, the
17      deposition of                      was taken on behalf of the
18      Defendant at 1225 17th Street, Suite 2600, Denver,
19      Colorado 80202, on June 16, 2017, at 8:54 a.m., before
20      Sherry Wallin, Certified Realtime Reporter, Registered
21      Merit Reporter and Notary Public within Colorado.
22
23
24
25

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        Case 1:14-cv-14176-ADB Document 487-3 Filed 08/28/18 Page 3 of 4



                                                                  Page 64

1       witness not to answer the question.
2                   Q.    (BY MR. DULBERG)         Okay.    You had an
3       email exchange with Mr. Blum in 2015.
4                   A.    Um-hum.
5                   Q.    And then a phone call with Mr. Blum in
6       20 -- in January 2017.          After the phone call in
7       January 2017, what was your next email, phone call or
8       meeting with anyone from SFFA?
9                         MR. PARK:     And instruct the witness not
10      to answer.       And just to be clear, I'm not trying to
11      cherry-pick.       I think I wasn't clear enough in my
12      prior instruction, which is about the call.                I didn't
13      mean to suggest that that was a topic that should be
14      inquired into or is fair game for discovery.
15                        I think, like I said before,
16      communications involving or among SFFA members,
17      including Mr. Blum, are not relevant and are protected
18      communications under the First Amendment and under the
19      court's orders.
20                  Q.    (BY MR. DULBERG)         Look at paragraph 9 of
21      Exhibit 1, please.
22                  A.    Um-hum.
23                  Q.    The first sentence says, "I have agreed
24      to participate in SFFA's lawsuit against Harvard and
25      have received updates about the status of the case

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        Case 1:14-cv-14176-ADB Document 487-3 Filed 08/28/18 Page 4 of 4



                                                                 Page 127

1                       REPORTER'S CERTIFICATE
2       STATE OF COLORADO         )
                                  ) ss.
3       CITY AND COUNTY OF DENVER )
4
                     I, SHERRY A. WALLIN, Certified Realtime
5       Reporter, Registered Merit Reporter and Notary Public
        ID 19874212873, State of Colorado, do hereby certify
6       that previous to the commencement of the examination,
        the said             was duly sworn by me to testify
7       to the truth in relation to the matters in controversy
        between the parties hereto; that the said deposition
8       was taken in machine shorthand by me at the time and
        place aforesaid and was thereafter reduced to
9       typewritten form; that the foregoing is a true
        transcript of the questions asked, testimony given,
10      and proceedings had.
11                   I further certify that I am not employed
        by, related to, nor of counsel for any of the parties
12      herein, nor otherwise interested in the outcome of
        this litigation.
13
14                    IN WITNESS WHEREOF, I have affixed my
        signature this 23rd day of June, 2017.
15
16                        My commission expires May 14, 2019.
17
18      __X__ Reading and Signing was requested.
19      _____ Reading and Signing was waived.
20      _____ Reading and Signing is not required.
21
22
23
                              <%Signature%>
24                                SHERRY A. WALLIN
                                  Certified Realtime Reporter
25                                Registered Merit Reporter

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